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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

 UNITED STATES OF AMERICA,                           )
                                                     )    Case No. 2:18-cv-267
            Plaintiff,                               )
                                                     )
            v.                                       )
                                                     )
 ROMEO H. AMORES, JR.,                               )
 MA VICTORIA G. AMORES,                              )
 NEW PENN FINANCIAL, LLC d/b/a                       )
 SHELLPOINT MORTGAGE SERVICING                       )
 INDIANA DEPARTMENT OF REVENUE,                      )
 and LAKE COUNTY, INDIANA,                           )
                                                     )
            Defendants.                              )

                                           COMPLAINT

       The United States of America, pursuant to 26 U.S.C. §§ 7401 and 7403, with the

authorization of a delegate of the Secretary of the Treasury and at the direction of a delegate of

the Attorney General, brings this civil action to enforce federal tax liens on Romeo H. Amores,

Jr., and Ma Victoria G. Amores’ interest in a certain parcel of real property, identified below. In

support of this action, the United States alleges as follows:

                                  Jurisdiction, Venue, and Parties

       1.        Jurisdiction over this action is conferred upon this Court under 28 U.S.C.

§§ 1331, 1340, and 1345, and 26 U.S.C. §§ 7402 and 7403.

       2.        During the time that the tax liens that the United States seeks to enforce arose,

Defendants Romeo H. Amores, Jr., and Ma Victoria G. Amores resided in Munster, Indiana,

which is within the jurisdiction of this Court. The real property on which the United States seeks

to enforce federal tax liens is also located in Munster, Indiana.
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        3.      Defendant New Penn Financial, LLC, doing business as Shellpoint Mortgage

Servicing, is named as a defendant in this case because it has, or may claim, an interest in the

real property on which the United States seeks to enforce its liens.

        4.      Defendant Indiana Department of Revenue is named as a defendant in this case

because it has, or may claim, an interest in the real property on which the United States seeks to

enforce its liens.

        5.      Defendant Lake County, Indiana, is named as a defendant in this case because it

has, or may claim, an interest in the real property on which the United States seeks to enforce its

liens, and because any such liens that exist or may hereafter arise may not be enforced while this

Court has exclusive jurisdiction and will instead be satisfied from the proceeds of a sale under

the order of this Court.

                                           The Property

       6.       The real property that is the subject of this action is located at 310 Cornwall

Circle, Munster, Lake County, Indiana (the “Property”), within the jurisdiction of this Court, and

is legally described as follows:

                Lot Numbered 181 in Block 1 as shown on the recorded plat of
                West Lakes Addition Phase Two, to the Town of Munster as per
                plat thereof, recorded in Plat Book 91 Page 64 in the Office of the
                Recorder of Lake County, Indiana.

        7.      By Warranty Deed dated July 12, 2005, Desiree M. Stoffregen conveyed the

Property to Ma Victoria G. Amores. The Warranty Deed was recorded with the Lake County

Recorder’s Office on July 15, 2005, as Document No. 2005-058786.

        8.      By Warranty Deed dated August 19, 2008, Ma Victoria G. Amores conveyed the

Property to Ma Victoria G. Amores and Romeo H. Amores, Jr., husband and wife. The




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Warranty Deed was recorded with the Lake County Recorder’s Office on September 3, 2008, as

Document No. 2008-061948.

                                Defendants’ Bankruptcy Proceeding

       9.      On May 29, 2015, Romeo H. Amores, Jr., and Ma Victoria G. Amores filed a

joint Chapter 7 petition in Case No. 2:15-bk-21706 in the U.S. Bankruptcy Court for the

Northern District of Indiana.

       10.     On October 8, 2015, Romeo H. Amores, Jr., and Ma Victoria G. Amores were

granted a discharge pursuant to 11 U.S.C. § 727, terminating the bankruptcy stay pursuant to 26

U.S.C. § 362(d).

       11.     On April 20, 2018, the Bankruptcy Court revoked Romeo H. Amores, Jr., and Ma

Victoria G. Amores’ discharge, pursuant to 11 U.S.C. § 727(a)(6)(A) for failing to obey orders of

the Bankruptcy Court.

       12.     On July 6, 2018, the Bankruptcy Court ordered that the Property is abandoned and

that the Chapter 7 Trustee treat the Property as abandoned.

                   Count to Enforce Federal Tax Liens Against the Property

        13.    On the dates, in the amounts, and for the taxable periods set forth below, a

delegate of the Secretary of the Treasury made assessments against Romeo H. Amores, Jr., and

Ma Victoria G. Amores, jointly and severally, for unpaid federal income taxes, penalties, and

interest, which have balances due, after accounting for all payments and credits and with accruals

of additional interest and penalties, plus costs, as of July 10, 2018, as follows:

  Tax Period       Assessment Date                Assessment Type                Assessed Amount
 2007              07/16/2012            Additional Tax Assessed                       $127,257.00
                   07/16/2012            Accuracy-Related Penalty                       $25,451.40
                   07/16/2012            Interest Assessed                              $29,408.15
                                         Unpaid Balance with Interest as
                                         of 07/10/2018                                 $182,150.13



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 2008              08/13/2012        Additional Tax Assessed                                $28,315.00
                   08/13/2012        Accuracy-Related Penalty                                $5,663.00
                   08/13/2012        Interest Assessed                                       $4,187.33
                   04/08/2013        Late Payment Penalty                                    $1,576.90
                                     Unpaid Balance With Interest as
                                     of 07/10/2018                                      $51,698.44
 2009              10/07/2013        Tax Assessed                                      $231,345.00
                   10/07/2013        Failure to Pre-Pay Tax Penalty                      $2,091.96
                   10/07/2013        Late Filing Penalty                                $21,901.10
                   10/07/2013        Interest Assessed                                   $8,866.93
                   10/07/2013        Late Payment Penalty                               $11,299.30
                                     Unpaid Balance With Interest as
                                     of 07/10/2018                                     $118,089.47
 2010              10/24/2011        Tax Assessed                                      $351,183.00
                   10/24/2011        Failure to Pre-Pay Tax Penalty                      $4,434.88
                   10/24/2011        Late Filing Penalty                                $50,020.42
                   10/24/2011        Late Payment Penalty                                $7,488.95
                   10/24/2011        Interest Assessed                                   $5,432.14
                   10/07/2013        Additional Tax Assessed                           $126,798.00
                   10/07/2013        Late Payment Penalty                               $41,218.59
                   10/07/2013        Late Filing Penalty                                $28,259.56
                   10/07/2013        Accuracy-Related Penalty                           $25,359.60
                                     Unpaid Balance With Interest as
                                     of 07/10/2018                                     $543,286.35
 2014              06/08/2015        Tax Assessed                                       $66,009.00
                   06/08/2015        Failure to Pre-Pay Tax Penalty                        $467.00
                   06/08/2015        Late Payment Penalty                                  $224.28
                   06/08/2015        Interest Assessed                                      $98.56
                   04/18/2016        Dishonored Payment Penalty                             $25.00
                   04/18/2016        Interest Assessed                                     $341.40
                   04/18/2016        Late Payment Penalty                                  $521.44
                                     Unpaid Balance With Interest as
                                     of 07/10/2018                                       $11,048.08
                   Total Unpaid Balance with Interest as of 07/10/2018                  $906,272.47

        14.    On or about the dates described in paragraph 13, above, a delegate of the

Secretary of the Treasury properly gave notice of those assessments to Romeo H. Amores, Jr.,

and Ma Victoria G. Amores, and made a demand for payment of the balance due upon them.

        15.    Despite such notice and demand, Romeo H. Amores, Jr., and Ma Victoria G.

Amores have failed, neglected, or refused to pay the liabilities set forth above in full.




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        16.     Pursuant to 26 U.S.C. §§ 6321 and 6322, on the dates of the assessments set forth

in paragraph 13, above, federal tax liens arose in favor of the United States upon all property and

rights to property belonging to Romeo H. Amores, Jr., and/or Ma Victoria G. Amores.

        17.     On June 29, 2012, the Internal Revenue Service (“IRS”) filed a Notice of Federal

Tax Lien, in accordance with 26 U.S.C. § 6323(f), with the Lake County Recorder’s Office, with

regard to the tax assessments made against Romeo H. Amores, Jr., and Ma Victoria G. Amores,

jointly, on October 24, 2011, for tax year 2010. The notice was recorded as Document No.

2012-043163.

        18.     On June 3, 2013, the IRS filed a Notice of Federal Tax Lien, in accordance with

26 U.S.C. § 6323(f), with the Lake County Recorder’s Office, with regard to Romeo H. Amores,

Jr., and Ma Victoria G. Amores’s 2007 and 2008 joint income tax liabilities. The notice was

recorded as Document No. 2013-040265.

        19.     Pursuant to 26 U.S.C. § 7403, the United States is entitled to enforce its liens

upon Romeo H. Amores, Jr., and Ma Victoria G. Amores’s interest in the Property, to have the

entire Property sold at a judicial sale free and clear of all rights, titles, claims, liens, and interests

of the parties, including any rights of redemption, and to have the proceeds distributed, after the

payments of the costs of sale and any real estate taxes due and owing, as permitted by 26 U.S.C.

§ 6323(b)(6), to the United States or as otherwise determined by the Court.

        WHEREFORE, the plaintiff United States of America prays that:

        A.      The Court enforce the federal tax liens and order the entire Property sold, free and

clear of all rights, title, liens, claims, and interests of the parties, including any rights of

redemption, and distribute the proceeds, after the payments of the costs of sale and any real




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estate taxes due and owing under 26 U.S.C. § 6323(b)(6), to the United States, or as otherwise

determined by the Court;

        B.      The Court determine that any failure by any defendant other than Defendants

Romeo H. Amores, Jr., and Ma Victoria G. Amores and any government entity holding a lien

securing unpaid real property tax under 26 U.S.C. § 6323(b)(6), to timely plead a right, title,

claim, or interest in the Property shall result in a default being entered against that party and a

default judgment holding that said party has no right, title, claim, lien, or other interest in the

Property; and

        C.      The Court award the United States of America such further relief, including the

costs of this action, that the Court deem just and proper.

                                                        Respectfully submitted,

                                                        RICHARD E. ZUCKERMAN
                                                        Principal Deputy Assistant Attorney General
                                                        U.S. Department of Justice, Tax Division

                                                        /s/ Bradley A. Sarnell
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